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May 30, 2019

The Honorable Jesse M. Furman
United States District Court for the Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:     NYIC Plaintiffs’ motion for an order to show cause in State of New York, et al. v.
               U.S. Dep’t of Commerce, et al., 18-CV-2921 (JMF)

Dear Judge Furman:

        Pursuant to Rule 3(A) of this Court’s Individual Rules and Practices, NYIC Plaintiffs
request an order to show cause whether sanctions or other appropriate relief are warranted in
light of new evidence that contradicts sworn testimony of Secretary Ross’s expert advisor A.
Mark Neuman and senior DOJ official John Gore, as well as other representations by Defendants
to this Court, on the central issues in this case. The new evidence, concealed by Defendants here,
strongly underscores the pretextual basis for Defendants’ decision to add a citizenship question
to the 2020 Decennial Census. Although the appeal of this Court’s judgment is pending, this
Court retains jurisdiction over “collateral matters related to the case,” such as “sanctions” and
“contempt-related matters.” Aviv v. Brainard, 2018 WL 5668623, at *3 (S.D.N.Y. Nov. 1, 2018).
        The new evidence reveals that Dr. Thomas Hofeller, the longtime Republican
redistricting specialist, played a significant role in orchestrating the addition of the citizenship
question to the 2020 Decennial Census in order to create a structural electoral advantage for, in
his own words, “Republicans and Non-Hispanic Whites,” and that Defendants obscured his role
through affirmative misrepresentations. Specifically, new evidence shows that: (1) Dr. Hofeller
concluded in a 2015 study that adding a citizenship question to the 2020 Census “would clearly
be a disadvantage to the Democrats” and “advantageous to Republicans and Non-Hispanic
Whites” in redistricting; (2) in August 2017, Dr. Hofeller helped ghostwrite a draft DOJ letter to
Commerce requesting a citizenship question and providing the Voting Rights Act enforcement
rationale for doing so; (3) Neuman gave this ghostwritten draft DOJ letter to Gore in October
2017; and (4) the letter that DOJ eventually sent to Commerce in December 2017 adopted the
same VRA rationale and bears striking similarities to Dr. Hofeller’s 2015 study stating that a
citizenship question on the Census was essential to advantaging Republicans and white voters.
       Based on this new evidence, it appears that both Neuman and Gore falsely testified about
the genesis of DOJ’s request to Commerce in ways that obscured the pretextual character of the
request. Neuman falsely testified that
                                                                 Gore repeatedly testified that he
prepared the initial draft of the DOJ letter, failing to disclose that Neuman gave him a draft of the
DOJ letter in October 2017. Both Neuman and Gore concealed Dr. Hofeller’s role in crafting the
October 2017 draft letter and the VRA enforcement rationale it advanced.
       1. Mark Neuman, whom Defendants characterized as Ross’s “trusted” “expert adviser”
on census matters, ECF 451, admitted that Dr. Hofeller was the “first person” who suggested
adding a citizenship question to the 2020 Census to the transition. Ex. B at 51:15-16. According
to Neuman, Dr. Hofeller advised that adding the question would “maximize[]” representation for


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the “Latino community.” Id. at 142:3-18, see id. at 56:15-20. But new evidence obtained in
discovery in a state court lawsuit, Common Cause v. Lewis, No. 18-CVS-14001 (N.C. Super.),
shows that Dr. Hofeller instead knew that adding a citizenship question would have exactly the
opposite effect—it would disadvantage Latinos and benefit “Non-Hispanic Whites.”
        In August 2015, Dr. Hofeller was commissioned by the “principal” of the Washington
Free Beacon, a conservative website, to study the “practicality” and “political and demographic
effects” of using citizen voting age population (“CVAP”) in lieu of total population (“TPOP”) to
achieve equal population in redistricting. Exs. C, D. Dr. Hofeller wrote that use of CVAP in
redistricting was infeasible “[w]ithout a question on citizenship being included on the 2020
Decennial Census questionnaire.” Ex. D at 8. He explained that “[e]ven if a majority on the U.S.
Supreme Court was sympathetic to the use of CVAP” in “redistricting or reapportionment,” the
Court was unlikely to permit such usage based on citizenship data from the ACS, and would
instead require “an actual full enumeration” on the 2020 Decennial Census. Id. at 3.
         Dr. Hofeller also advised that if a citizenship question were added to the 2020 Census to
facilitate use of CVAP in redistricting, the results “would be advantageous to Republicans and
Non-Hispanic Whites,” “would clearly be a disadvantage for the Democrats,” and would
“provoke a high degree of resistance from Democrats and the major minority groups in the
nation.” Id. at 7, 9 (emphases added). Using the Texas State House of Representatives as a case
study, Dr. Hofeller detailed how a switch from TPOP to CVAP would cause districts with large
Latino populations and/or Democratic incumbents to disproportionately lose population, with the
largest effects in South Texas, El Paso, and the Rio Grande Valley. Id. at 6-8, Tables 4-8. Hence,
Dr. Hofeller wrote, a switch to CVAP would reduce the number of districts in these regions and
enable Republican mapmakers to pack more Democrats and Latinos into each remaining district.
Dr. Hofeller explained: “Democratic districts could geographically expand to absorb additional
high Democrat precincts from adjacent Republican districts, strengthening the adjoining GOP
districts.” Id. at 8 (emphasis added). This strategy could be employed to particularly great effect
in heavily Latino areas, because “considerable population would have to be added to a majority
of the Latino districts to bring their populations up to acceptable levels.” Id. at 6.
        2. Neuman testified at deposition that
        and he denied that
                                      Ex. B at 114:15-21, 273:10-21. Neuman also testified that he
did not rely on Dr. Hofeller for “expertise on the Voting Rights Act,” and that Dr. Hofeller “did
not appear to me to be an adviser to the ... administration at all.” Id. at 136:9-10, 143:25-144:6.
When asked about the “substance” of his conversations with Dr. Hofeller “about the citizenship
question” in 2017, he testified that Dr. Hofeller just said, “Mark, you need to make sure that we
take a good census, that the administration doesn’t skimp on the budget.” Id. at 138:3-15. Gore,
meanwhile, testified that he “drafted the initial draft of the letter to request the citizenship
question sometime around the end of October or early November of 2017,” and he did not name
Neuman or Dr. Hofeller as people who provided “input” on the initial draft. Ex. E at 150:9-
151:20; see id. at 127:12-17, 343:19-21. All of this testimony appears to be misleading or false.
         In a congressional interview after the final judgment in this case, Gore disclosed for the
first time that, in or around October 2017, Neuman gave Gore “a draft letter that would request
reinstatement of the citizenship question on the census questionnaire” (the “Neuman DOJ
Letter”). Ex. F at 2-4. Gore said that Neuman gave him this draft letter, which is framed as a


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request from DOJ to Commerce, after Commerce General Counsel Peter Davidson asked
Neuman and Gore to meet. Id. While Neuman produced this draft letter in discovery here, Ex. G,
neither Neuman nor Gore disclosed that Neuman gave this draft to Gore; Neuman testified that

                                                             . Ex. B at 123:20-124:24, 273:10-21.
        Nor did Neuman or Gore disclose that Dr. Hofeller ghostwrote a substantial part of the
Neuman DOJ Letter setting forth the VRA rationale. Cf. Ex. B at 143:25-144:6. Dr. Hofeller’s
files produced in discovery in the North Carolina case include a Word document containing a
paragraph that sets forth the purported VRA enforcement rationale for adding a citizenship
question to the 2020 Census. Ex. H. That paragraph was incorporated verbatim in the Neuman
DOJ Letter that Neuman then delivered to Gore. Compare Ex. G, with Ex. H. Metadata from the
Word file indicates that Dr. Hofeller created this file on August 30, 2017. Thus, we now know
that there is a direct line from Dr. Hofeller’s advice that adding a citizenship question would
advantage Republicans and non-Hispanic whites to the ultimate DOJ letter and its VRA rationale
on which Secretary Ross relied: When Commerce officials began scrambling to develop a VRA
rationale in August 2017, Dr. Hofeller helped craft the rationale, which was adopted wholesale in
the Neuman DOJ Letter. Neuman then gave that draft letter to Gore in October 2017 after
Commerce’s General Counsel asked them to meet, and Gore ultimately sent his version of the
DOJ letter, also incorporating Hofeller’s VRA rationale, back to Commerce in December 2017.
        3. Gore’s testimony that he initially drafted the DOJ letter to Commerce requesting the
citizenship question was materially misleading given that the December 2017 DOJ letter was
adapted from the Neuman DOJ Letter, including, in particular, Dr. Hofeller’s VRA rationale.
        But there is more. The content, language, and structure of DOJ’s December 2017 letter
bears striking similarities to Dr. Hofeller’s 2015 study on the feasibility and impact of using
CVAP in redistricting. The two documents contain similar descriptions of the history of a
citizenship question on the census and the ACS, and they make the exact same arguments that (a)
the “5-year rolling sample” of the ACS does not align in “time” with decennial census data; (b)
ACS data is inaccurate for small units of geography, and (c) the smallest unit of geography on
the ACS is Census Block Groups, which are larger than the “fundamental” or “basic” “building
blocks” for a redistricting plan and therefore “require” jurisdictions to “compute” or “perform”
estimates to impute the CVAP of legislative districts. The two documents present these
substantially similar descriptions and arguments in the exact same order. The chart attached as
Exhibit I shows the similarities in the content, language, and structure of the two documents.
        The new evidence demonstrates a direct through-line from Dr. Hofeller’s conclusion that
adding a citizenship question would advantage Republican and non-Hispanic whites to DOJ’s
ultimate letter. The new evidence thus not only contradicts testimony in this case, but it shows
that those who constructed the VRA rationale knew that adding a citizenship question would not
benefit Latino voters, but rather would facilitate significantly reducing their political power.
        Exhibit A hereto lists testimony and others representations that the new evidence
contradicts. This new evidence merits sanctions or other appropriate relief. Plaintiffs are filing
today a separate letter seeking permission to redact certain deposition testimony in this letter and
an exhibit because Defendants asserted deliberative-process privilege over that testimony.
Plaintiffs will move to lift these redactions because the public has a right to see this testimony.


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                                            Respectfully submitted,

                                              ARNOLD & PORTER KAYE SCHOLER LLP
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                                              By:   /s/ John A. Freedman       _


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+ admitted pro hac vice
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** Not admitted in D.C.; practice limited pursuant to D.C. App. R. 49(c)(3).

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